  Case 1:17-cv-00871-LPS Document 47 Filed 11/13/17 Page 1 of 14 PageID #: 2794



                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

   ETHICON LLC, ETHICON ENDO-                       )
   SURGERY, INC. and ETHICON US LLC.                )
                                                    )
                          Plaintiffs,               )
                                                    )
                  v.                                )    C.A. No. 17-871 (LPS) (CJB)
                                                    )
   INTUITIVE SURGICAL, INC.,                        )
   INTUITIVE SURGICAL OPERATIONS,                   )
   INC. and INTUITIVE SURGICAL                      )
   HOLDINGS, LLC                                    )
                                                    )
                          Defendants.               )

                               trJWl'OS~CHEDULING ORDER/;<!6
         This   li~y      of   ~17,            the Court having conducted a Case Management

  Conference/Rule 16 scheduling and planning conference pursuant to Local Rule 16.l(a) and

  Judge Stark's Revised Procedures for Managing Patent Cases (which is posted at

  http://www.ded.uscourts.gov; see Chambers, Judge Leonard P. Stark, Patent Cases) on

f\/Q~~ 13       201J and the parties having determined after discussion that the matter cannot be

  resolved at this juncture by settlement, voluntary mediation, or binding arbitration;

         IT IS HEREBY ORDERED that:

         1.      Rule 26(a)(l) Initial Disclosures and E-Discovery Default Standard. Ynless

  otherwise agreed to by the parties, the parties shall make their initial disclosures pursuant to

  Federal Rule of Civil Procedure 26(a)(l) within five (5) days of the date of this Order. If they

  have not already done so, the parties are to review the Court's Default Standard for Discovery,

  Including Discovery of Electronically Stored Information ("ESI") (which is posted .at

  http://www.ded.uscourts.gov; see Other Resources, Default Standards for Discovery, and is

  incorporated herein by reference).
Case 1:17-cv-00871-LPS Document 47 Filed 11/13/17 Page 2 of 14 PageID #: 2795



       2.     Joinder of Other Parties and Amendment of Pleadings. All motions to join other

parties, and to amend or supplement the pleadings, shall be filed on or before August 1, 2018.

       3.     Application to Court for Protective Order. Should counsel find it will be

necessary to apply to the Court for a protective order specifying terms and conditions for the

disclosure of confidential information, counsel should confer and attempt to reach an agreement

on a proposed form of order and submit it to the Court within ten (10) days from the date ohhis

Order. Should counsel be unable to reach an agreement on a proposed form of order, counsel

must follow the provisions of Paragraph 8(g) below.

       Any proposed protective order must include the following paragraph:

              Other Proceedings. By entering this order and limiting the
              disclosure of information in this case, the Court does not intend to
              preclude another court from finding that information may be
              relevant and subject to disclosure in another case. Any person or
              party subject to this order who becomes subject to a motion to
              disclose another party's information designated "confidential" [the
              parties should list any other level of designation, such as "highly
              confidential," which may be provided for in the protective order]
              pursuant to this order shall promptly notify that party of the motion
              so that the party may have an opportunity to appear and be heard
              on whether that information should be disclosed.

       4.      Papers Filed Under Seal. In accordance with section G of the Administrative

Procedures Governing Filing and Service by Electronic Means, a redacted version of any sealed

document shall be filed electronically within seven (7) days of the filing of the sealed document.

       Should any party intend to request to seal or redact all or any portion of a transcript of a

court proceeding (including a teleconference), such party should expressly note that intent at the

start of the court proceeding. Should the party subsequently choose to make a request for sealing

or redaction, it must, promptly after the completion of the transcript, file with the Court a motion

for sealing/redaction, and include as attachments (1) a copy of the complete transcript

highlighted so the Court can easily identify and read the text proposed to be sealed/redacted, and


                                                 2
Case 1:17-cv-00871-LPS Document 47 Filed 11/13/17 Page 3 of 14 PageID #: 2796



(2) a copy of the proposed redacted/sealed transcript. With their request, the party seeking

redactions must demonstrate why there is good cause for the redactions and why disclosure of

the redacted material would work a clearly defined and serious injury to the party seeking

redaction.

       5.      Courtesy Copies. Other than with respect to "discovery matters," which are

governed by paragraph 8(g), and the final pretrial order, which is governed by paragraph 20, the

parties shall provide to the Court two (2) courtesy copies of all briefs and one (1) courtesy copy

of any other document filed in support of any briefs (i.e., appendices, exhibits, declarations,

affidavits etc.). This provision also applies to papers filed under seal.

       6.      ADR Process. This matter is referred to a magistrate judge to explore the

possibility of alternative dispute resolution.

       7.      Disclosures. Absent agreement among the parties, and approval of the Court:

               a.       By November 14, 2017, Plaintiff shall identify the accused product(s),

including accused methods and systems, and its damages model, as well as the asserted patent(s)

that the accused product(s) allegedly infringe(s). Plaintiff shall also produce the file history for

each asserted patent.

               b.       By December 15, 2017, Defendant shall produce core technical documents

related to the accused product(s), sufficient to show how the accused product(s) work(s),

including but not limited to non-publicly available operation manuals, product literature,

schematics, and specifications. Defendant shall also produce sales figures for the accused

product(s).

                c.      By February 8, 2018, Plaintiff shall produce an initial claim chart relating

each known accused product to the asserted claims each such product allegedly infringes.




                                                   3
Case 1:17-cv-00871-LPS Document 47 Filed 11/13/17 Page 4 of 14 PageID #: 2797



               d.      By March 20, 2018, Defendant shall produce its initial invalidity

contentions for each asserted claim, as well as the known related invalidating references.

               e.      By November 15, 2018, Plaintiff shall provide final infringement

contentions.

               f.      By December 10, 2018, Defendant shall provide final invalidity

contentions.

       8.      Discovery. Unless otherwise ordered by the Court, the limitations on discovery

set forth in Local Rule 26.1 shall be strictly observed.

               a.      Discovery Cut Off. All non-expert discovery in this case shall be initiated

so that it.will be completed on or before November 1, 2018.

               b.      Document Production. Document production shall be substantially

complete by July 19, 2018.

               c.      Requests for Admission. A maximum of 50 requests for admission are

permitted for. each side. This limitation does not apply to requests for admission related to

authentication or admissibility of documents.

               d.      Interrogatories.

                       i.      A    maximum      of 25     interrogatories,   including    contention

interrogatories, are permitted for each side.

                       11.     The Court encourages the parties to serve and respond to

contention interrogatories early in the case. In the absence of agreement among the parties,

contention interrogatories, if filed, shall first be addressed by the party with the burden of proof.

The adequacy of all interrogatory answers shall be judged by the level of detail each party

provides; i.e., the more detail a party provides, the more detail a party shall receive.




                                                  4
Case 1:17-cv-00871-LPS Document 47 Filed 11/13/17 Page 5 of 14 PageID #: 2798



               e.      Depositions.

                       i.      Limitation on Hours for Deposition Discovery. Each side is limited

to a total of 85 hours of taking testimony by deposition upon oral examination. The parties agree

to meet and confer in good faith if a party believes that good cause exists for additional

deposition time.

                       11.     Location of Depositions. Any party or representative (officer,

director, or managing agent) of a party filing a civil action in this district court must ordinarily be

required, upon request, to submit to a deposition at a place designated within this district.

       Exceptions to this general rule may be made by order of the Court. A defendant who

becomes a counterclaimant, cross-claimant, or third-party plaintiff shall be considered as having

filed an action in this Court for the purpose of this provision.

               f.      Disclosure of Expert Testimony.

                       i.      Expert Reports. For the party who has the initial burden of proof

on the subject matter, the initial Federal Rule 26(a)(2) disclosure of expert testimony is due on or

before January 16, 2019. The supplemental disclosure to contradict or rebut evidence on the

same matter identified by another party is due on or before February 13, 2019. Reply expert

reports from the party with the initial burden of proof are due on or before March 6, 2019. No

other expert reports will be permitted without either the consent of all parties or leave of the

Court. Along with the submissions of the expert reports, the parties shall advise of the dates and

times of their experts' availability for deposition.

                       tl.     Expert Report Supplementation. The parties agree they will not

permit expert declarations to be filed in connection with motions briefing (including case-

dispositive motions) that exceed the scope of the relevant expert reports.




                                                   5
Case 1:17-cv-00871-LPS Document 47 Filed 11/13/17 Page 6 of 14 PageID #: 2799



                       111.    Depositions of Experts. The deposition hours set forth above do

not include time for expert depositions. The parties agree to meet and confer concerning the time

allotted for expert depositions.

                       1v.     Close of Expert Discovery. Expert discovery must be completed on

or before April 1, 2019.

                       v.      Objections to Expert Testimony. To the extent any objection to

expert testimony is made pursuant to the principles announced in Daubert v. Merrell Dow

Pharm., Inc., 509 U.S. 579 (1993), as incorporated in Federal Rule of Evidence 702, it shall be

made by motion no later than the deadline for dispositive motions set forth herein, unless

otherwise ordered by the Court. Briefing on such motions is subject to the page limits set out in

connection with briefing of case dispositive motions.

               g.      Discovery Matters and Disputes Relating to Protective Orders.

                       i.      Any discovery motion filed without first complying with the

following procedures will be denied without prejudice to renew pursuant to these procedures.

                       IL      Should counsel find, after good faith efforts-including verbal

communication among Delaware and Lead Counsel for all parties to the dispute- that they are

unable to resolve a discovery matter or a dispute relating to a protective order, the parties

involved in the discovery matter or protective order dispute shall submit a joint letter in

substantially the following form:

               Dear Judge Stark:

               The parties in the above- referenced matter write to request the
               scheduling of a discovery teleconference.

                The following attorneys, including at least one Delaware Counsel
                and at least one Lead Counsel per party, participated in a verbal
                meet-and-confer (in person and/or by telephone) on the following
                date(s):


                                                6
Case 1:17-cv-00871-LPS Document 47 Filed 11/13/17 Page 7 of 14 PageID #: 2800




               Delaware Counsel:    ~~~~~~~~~




               The disputes requiring judicial attention are listed below:

               [provide here a nc;m-argumentative list of disputes requiring
               judicial attention]

                       111.    On a date to be set by separate order, generally not less than forty-

eight (48) hours prior to the conference, the party seeking relief shall file with the Court a letter,

not to exceed three (3) pages, outlining the issues in dispute and its position on those issues. On a

date to be set by separate order, but generally not less than twenty-four (24) hours prior to the

conference, any party opposing the application for relief may file a letter, not to exceed three (3)

pages, outlining that party's reasons for its opposition.

                       1v.     Each party shall submit two (2) courtesy copies of its discovery

letter and any attachments.

                       v.      Should the Court find further briefing necessary upon conclusion

of the telephone conference, the Court will order it. Alternatively, the Court may choose to

resolve the dispute prior to the telephone conference and will, in that event, cancel the

conference.

       9.      Motions to Amend.

               a.      Any motion to amend (including a motion for leave to amend) a pleading

shall NOT be accompanied by an opening brief but shall, instead, be accompanied by a letter, not

to exceed three (3) pages, describing the basis for the requested relief, and shall attach the

proposed amended pleading as well as a "blackline" comparison to the prior pleading.




                                                  7
Case 1:17-cv-00871-LPS Document 47 Filed 11/13/17 Page 8 of 14 PageID #: 2801



               b.      Within seven (7) days after the filing of a motion in compliance with this

Order, any party opposing such a motion shall file a responsive letter, not to exceed five (5)

pages.

               c.      Within three (3) days thereafter, the moving party may file a reply letter,

not to exceed two (2) pages, and, by this same date, the parties shall file a letter requesting a

teleconference to address the motion to amend.

         10.   Motions to Strike.

               a.      Any motion to strike any pleading or other document shall NOT be

accompanied by an opening brief but shall, instead, be accompanied by a letter, not to exceed

three (3) pages, describing the basis for the requested relief, and shall attach the document to be

stricken.

               b.      Within seven (7) days after the filing of a motion in compliance with this

Order, any party opposing such a motion shall file a responsive letter, not to exceed five (5)

pages.

               c.      Within three (3) days thereafter, the moving party may file a reply letter,

not to exceed two (2) pages, and, by this same date, the parties shall file a letter requesting a

teleconference to address the motion to strike.

         11.   Tutorial Describing the Technology and Matters in Issue. Unless otherwise

ordered by the Court, the parties shall provide the Court, no later than the date on which their

opening claim construction briefs are due, a tutorial on the technology at issue. In that regard, the

parties may separately or jointly submit a DVD of not more than thirty (30) minutes. The tutorial

should focus on the technology in issue and should not be used for argument. The parties may

choose to file their tutorial(s) under seal, subject to any protective order in effect. Each party may




                                                  8
        '-
Case 1:17-cv-00871-LPS Document 47 Filed 11/13/17 Page 9 of 14 PageID #: 2802



comment, in writing (in no more than five (5) pages) on the opposing party's tutorial. Any such

comment shall be filed no later than the date on which the answering claim construction briefs

are due. As to the format selected, the parties should confirm the Court's technical abilities to

access the information contained in the tutorial (currently best are "mpeg" or "quicktime").

       12.     Claim Construction Issue Identification. On May 2, 2018, the parties shall

exchange a list of those claim term(s)/phrase(s) that they believe need construction and their

proposed claim construction of those term(s)/phrase(s). This document will not be filed with the

Court. Subsequent to exchanging that list, the parties will meet and confer to prepare a Joint

Claim Construction Chart to be submitted on May 23, 2018. The parties' Joint Claim

Construction Chart should identify for the Court the term(s)/phrase(s) of the claim(s) in issue,

and should include each party's proposed construction of the disputed claim language with

citation(s) only to the intrinsic evidence in support of their respective proposed constructions. A

copy of the patent(s) in issue as well as those portions of the intrinsic record relied upon shall be

submitted with this Joint Claim Construction Chart. In this joint submission, the parties shall not

provide argument.

       13.     Claim Construction Briefing. The parties shall contemporaneously submit initial

briefs on claim construction issues on June 28, 2018. The parties' answering/responsive briefs

shall be contemporaneously submitted on August 1, 2018. No reply briefs or supplemental

papers on claim construction shall be submitted without leave of the Court. Local Rule 7.1.3(4)

shall control the page limitations for initial (opening) and responsive (answering) briefs.
                                                                                 Oc-iof,w I
        14.    Hearing on Claim Construction. Beginning at ~·~ oo ~.m. on Seflt~mbe~ 2018,

the Court will hear argument on claim construction. The parties shall notify the Court, by joint

letter submission, no later than the date on which their answering claim construction briefs are




                                                  9
Case 1:17-cv-00871-LPS Document 47 Filed 11/13/17 Page 10 of 14 PageID #: 2803



due: (i) whether they request leave to present testimony at the hearing; and (ii) the amount of

time they are requesting be allocated to them for the hearing.

         Provided that the parties comply with all portions ofthis Scheduling Order, and any other

orders of the Court, the parties should anticipate that the Court will issue its claim construction

order within sixty (60) days of the conclusion of the claim construction hearing. If the Court is

unable to meet this goal, it will advise the parties no later than sixty (60) days after the

conclusion of the claim construction hearing.

         15.    Interim Status Report. On September 13, 2018, counsel shall submit a joint letter

to the Court with an interim report on the nature of the matters in issue and the progress of

discovery to date. Thereafter, if the Court deems it necessary, it will schedule a status

conference.

         16.    Supplementation. Absent agreement among the parties, and approval of the Court,

no later than the date on which final contentions are due the parties must finally supplement,

inter alia, the identification of all accused products and of all invalidity references.

         17.    Case Dispositive Motions. All case dispositive motions, an opening brief, and

affidavits, if any, in support of the motion shall be served and filed on or before April 25,

2019. Briefing will be presented pursuant to the Court's Local Rules, as modified by this

Order.

                a.      No early motions without leave. No case dispositive motion under Rule 56

may be filed more than ten (10) days before the above date without leave of the Court.

                b.      Page limits combined with Daubert motion page limits. Each party is

permitted to file as many case dispositive motions as desired; provided, however, that each SIDE

will be limited to a combined total of 40 pages for all opening briefs, a combined total of 40




                                                   10
Case 1:17-cv-00871-LPS Document 47 Filed 11/13/17 Page 11 of 14 PageID #: 2804



pages for all answering briefs, and a combined total of 20 pages for all reply briefs regardless of

the number of case dispositive motions that are filed. In the event that a party files, in addition to

a case dispositive motion, a Daubert motion to exclude or preclude all or any portion of an

expert's testimony, the total amount of pages permitted for all case dispositive and Daubert

motions shall be increased to 50 pages for all opening briefs, 50 pages for all answering briefs,

and 25 pages for all reply briefs for each SIDE. 1

               c.      Hearing. The Court will hear argument on all pending case dispositive and

Daubert motions on Junei 2019 beginning at        q: DO ~.m.
       Subject to further order of the Court, each side will be allocated a total of forty-five (45)

minutes to present its argument on all pending motions.

        I 8.   Applications by Motion. Except as otherwise specified herein, any application to

the Court shall be by written motion filed with the Clerk. Any non-dispositive motion should

contain the statement required by Local Rule 7. I . I .

        19.    Pretrial Conference. On September          !,   20I9, the Court will hold a pretrial

conference in Court with counsel beginning at     Jl :~~.m. Unless otherwise ordered by the Court,
the parties should assume that filing the pretrial order satisfies the pretrial disclosure requirement

of Federal Rule of Civil Procedure 26(a)(3). The parties shall file with the Court the joint

proposed final pretrial order with the information required by the form of Revised Final Pretrial

Order -- Patent, which can be found on the Court's website (www.ded.uscourts.gov), on or

before August 28, 20I9. Unless otherwise ordered by the Court, the parties shall comply with the


        The parties must work together to ensure that the Court receives no more than a total
        of 250 pages (i.e., 50 + 50 + 25 regarding one side's motions, and 50 + 50 + 25
        regarding the other side's motions) of briefing on all case dispositive motions and
        Daubert motions that are covered by this scheduling order and any other scheduling
        order entered in any related case that is proceeding on a consolidated or coordinated
        pretrial schedule.

                                                   11
Case 1:17-cv-00871-LPS Document 47 Filed 11/13/17 Page 12 of 14 PageID #: 2805



timeframes set forth in Local Rule 16.3(d)(l)-(3) for the preparation of the joint proposed final

pretrial order.

        The parties shall provide the Court two (2) courtesy copies of the joint proposed final

pretrial order and all attachments.

        As noted in the Revised Final Pretrial Order- Patent, the parties shall include in their joint

proposed final pretrial order, among other things:

                  a.    a request for a specific number of hours for their trial presentations, as

well as a requested number of days, based on the assumption that in a typical jury trial day (in

which there is not jury selection, jury instruction, or deliberations), there will be 5Yz to 6Yz hours

of trial time, and in a typical bench trial day there will be 6 to 7 hours of trial time;

                  b.    their position as to whether the Court should allow objections to efforts to

impeach a witness with prior testimony, including objections based on lack of completeness

and/or lack of inconsistency;

                  c.    their position as to whether the Court should rule at trial on objections to

expert testimony as beyond the scope of prior expert disclosures, taking time from the parties'

trial presentation to argue and decide such objections, or defer ruling on all such objections

unless renewed in writing following trial, subject to the proviso that a party prevailing on such a

post-trial objection will be entitled to have all of its costs associated with a new trial paid for by

the party that elicited the improper expert testimony at the earlier trial; and

                  d.    their position as to how to make motions for judgment as a matter of law,

whether it be immediately at the appropriate point during trial or at a subsequent break, whether

the jury should be in or out of the courtroom, and whether such motions may be supplemented in

writing.




                                                   12
Case 1:17-cv-00871-LPS Document 47 Filed 11/13/17 Page 13 of 14 PageID #: 2806



         20.   Motions in Limine. Motions in limine shall not be separately filed. All in limine

requests and responses thereto shall be set forth in the proposed pretrial order. Each SIDE shall

be limited to three (3) in limine requests, unless otherwise permitted by the Court. The in limine

request and any response shall contain the authorities relied upon; each in limine request may be

supported by a maximum of three (3) pages of argument and may be opposed by a maximum of

three (3) pages of argument, and the side making the in limine request may add a maximum of

one ( 1) additional page in reply in support of its request. If more than one party is supporting or

opposing an in limine request, such support or opposition shall be combined in a single three (3)

page submission (and, ifthe moving party, a single one (1) page reply), unless otherwise ordered

by the Court. No separate briefing shall be submitted on in limine requests, unless otherwise

permitted by the Court.

         21.   Jury Instructions, Voir Dire, and Special Verdict Forms. Where a case is to be
                                                   '
tried to ajury, pursuant to Local Rules 47 and 51 the parties should file (i) proposed voir dire,

(ii) preliminary jury instructions, (iii) final jury instructions, and (iv) special verdict forms

three (3) business days before the final pretrial conference. This submission shall be

accompanied by a courtesy copy containing electronic files of these documents, m

WordPerfect or Microsoft Word format, which may be submitted by e-mail to Judge Stark's

staff.

         22.   Trial. This matter is scheduled for a seven day trial beginning at 9:30 a.m. on

OctobeJ~ 2019, with the subsequent trial days beginning at 9:00 a.m. Until the case is
submitted to the jury for deliberations, the jury will be excused each day at 4:30 p.m. The trial

will be timed, as counsel will be allocated a total number of hours in which to present their

respective cases.




                                                 13
Case 1:17-cv-00871-LPS Document 47 Filed 11/13/17 Page 14 of 14 PageID #: 2807



         23.   Judgment on Verdict and Post-Trial Status Report. Within seven (7) days after

a jury returns a verdict in any portion of a jury trial, the parties shall jointly submit a form of

order to enter judgment on the verdict. At the same time, the parties shall submit a joint status

report, indicating among other things how the case should proceed and listing any post-trial

motions each party intends to file.

         24.   Post-Trial Motions. Unless otherwise ordered by the Court, all SIDES are limited

to a maximum of 20 pages of opening briefs, 20 pages of answering briefs, and 10 pages of reply

briefs relating to any post-trial motions filed by that side, no matter how many such motions are

filed.


                                              The Honorable Christopher J. Burke




                                                14
